              Case 23-50459-LSS      Doc 34-7     Filed 11/30/23    Page 1 of 1




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the Opening Brief in Support of Motion

of Defendants Julian Kahlon and Graham Fortgang to Dismiss the Amended Complaint,

Declaration of Leonard Weintraub, Exhibits A through E in support thereof, and this

Certificate of Service have been filed electronically and is available for viewing and

downloading from the ECF system of the United States Bankruptcy Court for the District of

Delaware and that the same has been served via electronic filing on November 30, 2023 upon all

attorneys of record.



                                                /s/ Evan Williford
                                                Evan O. Williford (# 4162)
